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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                          Civil No. 0:24-cv-02944-KMM-JFD

        United States of America,

                             Plaintiff,
              v.                                                         RESPONSE
 1.     Evergreen Recovery Inc.;
 2.     Evergreen Mental Health Services Inc.;
 3.     Ethos Recovery Clinic Inc.
 4.     Second Chances Recovery Housing Inc.;
 5.     Second Chances Sober Living, Inc.;
 6.     David Backus;
 7.     Shawn Grygo; and
 8.     Shantel Magadanz,

                             Defendants.


       On August 9, 2024, this Court entered an order enjoining Defendants from

transferring, selling, assigning, dissipating, concealing, encumbering, impairing, or

otherwise disposing of, in any manner, assets in real or personal property, owned, gained,

or acquired by [them] up to and including $28 million, unless specifically authorized by

Order of this Court . . . ”. (ECF No. 44 at § I.B, hereinafter the “Injunction”). On or about

September 27, 2024, Defendants Grygo and Backus made a request to the Court to lift the

injunctive freeze on certain assets. (ECF No. 56). The United States hereby submits this

response to their request outlining its position regarding the specific assets at issue and

more generally as to requests of this type.
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       The United States understands Defendants Grygo and Backus’s request to pertain

only to the following assets1:

                 a. 1 2023 Premier Pontoon

                 b. 1 Georgetown 2023 Forest RV

                 c. 2 Can-Am 2021 Outlander 570 Four Wheelers

                 d. 1 Can-Am 2021 Outlander 850 Four Wheeler

                 e. 1 2020 Yamaha Kodiak Four Wheeler

The United States further understands that the request is for permission under Section I.B

of this Court’s Injunction to release the assets from the freeze and sell them. The United

States does not oppose the request as long as appropriate guardrails are in place to ensure

maximum value of the assets is preserved to serve the purpose of the Injunction: “to

recover [funds that can be used] as restitution to victims.” Injunction, Findings of Fact at

¶ 6.

       The United States does not oppose an arms-length sale to a third party for market

value with the proceeds deposited into a court registry account for determination at a later

date what percentage, if any, should be paid to Defendants Grygo and Backus for living

expenses.

       First, Defendants should provide sufficiently detailed identifying information for

each asset that the United States and this Court can ensure a reasonable sales price for



1
 Defendants’ request does not contain complete identifying information for these assets,
including make, model, year, and VIN. The description herein is the United States’
understanding, but lacks precision.
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each asset. This includes make, model, year, and VIN of each vehicle. Defendants

should also provide proof of ownership and any financing arrangement applicable to any

of the vehicles. This will ensure that the Court can properly assess the reasonableness of

the sales price for the assets.

       Second, Defendants should provide the Court with information ensuring that the

sale is to an unrelated third-party on the open market. The United States would not

oppose a sale through a third-party dealership.

       Third, the United States also requests that any order approving the sale require that

the proceeds of any such sale be deposited directly from the purchaser into a Court

registry account. Once identified, the United States respectfully requests that an order be

issued to the purchaser for the proceeds to be turned over directly to the Clerk of Court.

       Finally, Defendants Grygo and Backus have indicated that they would like to use

the proceeds of the sale of these assets for living expenses. The United States, again,

would not oppose that relief to the extent that guardrails are in place. The IRS standards
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for living expenses for a family of four in Washington County, Minnesota are as follows:

                      IRS Standards, Washington
                     County, MN
                     Category                               Amount
                     Transportation2                          $863
                     Housing3                                $3,047
                     Household Expenses (food,
                     clothing, etc.)4                         $2,027
                     Out of pocket healthcare5                 $332
                     Total                                    $6,269


       The United States respectfully submits that this Court should consider both the IRS

standards and the total value that results from the sale of these assets before determining

whether to release any of the proceeds of such sale to Defendants Grygo and Backus. The

United States will not oppose a reasonable request by Defendants Grygo and Backus, but

believes they have submitted insufficient information to the Court to justify an order for

living expenses at this time.




2
  IRS Local Standards Transportation, available at https://www.irs.gov/businesses/small-
businesses-self-employed/local-standards-transportation
3
  IRS Local Standards, Housing and Utilities, available at
https://www.irs.gov/businesses/small-businesses-self-employed/minnesota-local-
standards-housing-and-utilities
4
  IRS National Standards, Food, Clothing and Other Items, available at
https://www.irs.gov/businesses/small-businesses-self-employed/national-standards-food-
clothing-and-other-items
5
  IRS Standards, Out-of-pocket Healthcare expenses, available at
https://www.irs.gov/businesses/small-businesses-self-employed/national-standards-out-
of-pocket-health-care
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Respectfully submitted,

Dated: October 1, 2024                  ANDREW M. LUGER
                                        United States Attorney

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